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                                Mississippi Electronic Courts
                    Twelfth Circuit Court District (Forrest Circuit Court)
                     CIVIL DOCKET FOR CASE #: 18CI1:20-cv-00181


BRICE v. DISMAS CHARITIES PROPERTIES, INC. et al             Date Filed: 12/17/2020
Assigned to: Robert Helfrich                                 Current Days Pending: 39
                                                             Total Case Age: 39
Upcoming Settings:                                           Jury Demand: None
                                                             Nature of Suit: Negligence - Motor
None Found                                                   Vehicle (182)


Plaintiff
ALLEN BRICE                                   represented by Brigg Hails Austin
                                                             Morris Bart LLC
                                                             Morris Bart LLC
                                                             1712 15th St., suite 300
                                                             GULFPORT, MS 39501
                                                             228-574-4122
                                                             Fax: 228-400-1592
                                                             Email: baustin@morrisbart.com
                                                             ATTORNEY TO BE NOTICED


V.
Defendant
DISMAS CHARITIES
PROPERTIES, INC.

Defendant
DISMAS CHARITIES, INC.

Defendant
DISMAS EMPLOYEES "A" & "B"


 Date Filed      #     Docket Text
 12/17/2020     1      Civil Cover Sheet. (Crowe, Rhonda) (Entered: 12/17/2020)
                       COMPLAINT against DISMAS CHARITIES PROPERTIES, INC., DISMAS
 12/17/2020     2      CHARITIES, INC., DISMAS EMPLOYEES "A" & "B", filed by ALLEN
                       BRICE. (Crowe, Rhonda) (Entered: 12/17/2020)
                       SUMMONS Issued to DISMAS CHARITIES PROPERTIES, INC., DISMAS
 12/17/2020     3
                       CHARITIES, INC.. (Crowe, Rhonda) (Entered: 12/17/2020)




https://twelfth.circuit.mec.ms.gov/cgi-bin/DktRpt.pl?571933330964882-L_933_5-1,37074... 1/25/2021
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 12/22/2020     4    NOTICE OF SERVICE of Interrogatories Propounded to Dismas Charities
                     Properties, Inc., NOTICE OF SERVICE of Request for Production of
                     Documents Propounded to Dismas Charities Properties, Inc. by ALLEN BRICE.
                     (Austin, Brigg) (Entered: 12/22/2020)
                     SUMMONS Returned Executed by ALLEN BRICE. Re: ** 3 SUMMONS
                     Issued to DISMAS CHARITIES PROPERTIES, INC., DISMAS CHARITIES,
 12/29/2020     5    INC.. (Crowe, Rhonda)** DISMAS CHARITIES PROPERTIES, INC. served
                     on 12/26/2020, answer due 1/25/2021. Service type: Certified Mail
                     (Attachments: # 1 Exhibit USPS Receipt,) (Austin, Brigg) (Entered: 12/29/2020)



                                        MEC Service Center
                                         Transaction Receipt
                                          01/25/2021 14:15:27
                       You will be charged $0.20 per page to view or print
                                          documents.
                    MEC Login:     rt8188M       Client Code:    20826.21001
                    Description:   Docket Report Search Criteria: 18CI1:20-cv-00181
                    Billable Pages: 2            Cost:           0.40




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             IN THE CIRCUIT COURT OF FORREST COUNTY, MISSISSIPPI

ALLEN BRICE                                                                           PLAINTIFF

VS.                                                               CAUSE NO: 20-181

DISMAS CHARITIES PROPERTIES, INC.,
DISMAS CHARITIES, INC., and DISMAS
EMPLOYEES “A” & “B”                                                                DEFENDANTS

                  PLAINTIFF’S NOTICE OF SERVICE OF DISCOVERY


        Notice is hereby given that the Plaintiffs, have this date mailed via certified mail in the

above entitled action:

        1.     Plaintiff’s First Requests for Interrogatories and Requests for Production of
               Documents propounded to Defendant.

        RESPECTFULLY SUBMITTED, this the 22nd day of December 2020.

                                                       COUNSEL FOR THE PLAINTIFF

                                                       /s/ Brigg Austin
                                                       BRIGG AUSTIN, MSB # 104317
                                                       MORRIS BART, LTD.
                                                       1712 15TH Street, Suite 300
                                                       Gulfport, MS 39501
                                                       Telephone: (228) 574-4122
                                                        Fax: (228) 400-1592
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December 28, 2020

Dear Elizabeth Cole:

The following is in response to your request for proof of delivery on your item with the tracking number:
9171 9690 0935 0222 4910 72.

Item Details

Status:                                                 Delivered to Agent for Final Delivery
Status Date / Time:                                     December 26, 2020, 9:34 am
Location:                                               FLOWOOD, MS 39232
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Recipient Signature

                  Signature of Recipient:
                      (Authorized Agent)


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
